 Fill in this information to identify the case:

 Debtor 1              Alphia May Stanley
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                                                  KS
 United States Bankruptcy Court for the: __________ District of __________

 Case number            16-40531-dls
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                              12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                               U.S. Bank Trust National Association, as Trustee of the
                   Igloo Series IV Trust
 Name of creditor: _______________________________________                                                              13
                                                                                           Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                    Date of payment change:
 identify the debtor’s account:                             5 ____
                                                           ____ 4 ____
                                                                    7 ____
                                                                        7                  Must be at least 21 days after date       07/01/2020
                                                                                                                                     _____________
                                                                                           of this notice


                                                                                           New total payment:                               $371.70
                                                                                                                                     $ ____________
                                                                                           Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                   $198.49
                   Current escrow payment: $ _______________                             New escrow payment:                 $214.38
                                                                                                                     $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:          _______________%                      New interest rate:          _______________%

                   Current principal and interest payment: $ _______________             New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                           New mortgage payment: $ _______________


Official Form 410S1                                            Notice of Mortgage Payment Change                                              page 1
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                                                                                                                                          MS 177238
Debtor 1         Alphia   May Stanley
                 _______________________________________________________                                            16-40531-dls
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.
     ✔
          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8 /s/ Christopher D. Lee
     _____________________________________________________________
     Signature
                                                                                                Date     06/09/2020
                                                                                                         ___________________




 Print:             Christopher D. Lee, #63024, #63024MO
                    _________________________________________________________                   Title   Attorney  for Creditor
                                                                                                        ___________________________
                    First Name                      Middle Name         Last Name



 Company            Millsap & Singer, LLC
                    _________________________________________________________



 Address            612 Spirit Drive
                    _________________________________________________________
                    Number                 Street

                    St.Louis, MO 63005
                    ___________________________________________________
                    City                                                State        ZIP Code



 Contact phone      (636) 537-0110
                    ________________________                                                           bkty@msfirm.com
                                                                                                Email ________________________




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 UIJT$MBJN)PXFWFS UIJT/PUJDFPG.PSUHBHF1BZNFOU$IBOHFJTCFJOHGJMFEUPFOTVSF$SFEJUPST
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Official Form 410S1                                                   Notice of Mortgage Payment Change                                            page 2
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                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF KANSAS
                                 TOPEKA DIVISION

In The Matter Of:                              )
                                               )    Case Number 16-40531-dls
Alphia May Stanley                             )
                                               )
                                               )    Chapter 13
    Debtor,                                    )
                                               )
U.S. Bank Trust National Association, as       )
Trustee of the Igloo Series IV Trust           )
                                               )
    Creditor,                                  )
                                               )

                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was filed
electronically on June 9, 2020, with the United States Bankruptcy Court, and has been
served on the parties in interest via e-mail by the Court pursuant to CM/ECF as set out
on the Notice of Electronic filing as issued by the Court or in the alternative has been
served by depositing a true and correct copy of same enclosed in a postage prepaid,
properly addressed envelope, in a post office official depository under the exclusive
care and custody of the United States Postal Service within the state of Missouri on
those parties directed by the Court on the Notice of Electronic Filing issued by the Court
as required by the Federal Rules of Bankruptcy Procedure and the Local Rules of the
United States Bankruptcy Court.

                                           /s/ Christopher D. Lee



Electronic Mail Notice List

The following is the list of attorneys who are currently on the list to receive e-mail
notices for this case.

       Gary E. Hinck
       gh@kansasconsumer.com

       Jan Hamilton
       orders@topeka13trustee.com



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       Office of the United States Trustee


Manual Notice List

The following is a list of parties who are not on the list to receive e-mail notices for this
case (who therefore require manual noticing).

       Alphia May Stanley
       12883 S Lewelling Rd
       Carbondale, KS 66414




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